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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                        Order Filed on January 13, 2022
 Scott D. Sherman, Esq.                                                 by Clerk,
 Minion & Sherman                                                       U.S. Bankruptcy Court
                                                                        District of New Jersey
 33 Clinton Road - Suite 105
 West Caldwell, New Jersey 07006
 phone 973-882-2424
 fax 973-882-0856
 ssherman@minionsherman.com
                                                            Case No.:                19-28873
                                                                               ____________________
 In Re:
SONYA K. ROYSTER,                                           Chapter:                    13
                                                                               ____________________

                                                            Judge:                   MEISEL
                                                                               ____________________
                                        DEBTOR



                                            LOSS MITIGATION ORDER


          The relief set forth on the following pages, numbered 2 and 3, is hereby ORDERED.




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                                                                            12/8/2021 by motion .
         A Notice of Request for Loss Mitigation was filed by the debtor on ___________________

           A Notice of Request for Loss Mitigation was filed by the creditor,
        ________________________ on __________________.

       The court raised the issue of Loss Mitigation, and the parties having had notice and an
        opportunity to object, and the Court having reviewed any objections thereto.

    The Request concerns the following:
              380 Watsessing Avenue, Bloomfield, NJ 07003
    Property: ________________________________________________________________
              Select Portfolio Servicing, Inc.
    Creditor: ________________________________________________________________


     It is hereby ORDERED that the Notice of Request for Loss Mitigation is denied.


       It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted, and:

        x       The debtor and creditor listed above are directed to participate in Loss Mitigation and are
                 bound by the court’s Loss Mitigation Program and Procedures (LMP).

        x                                                      4/13/2022
                The Loss Mitigation process shall terminate on ________________ (90 days from the
                date of entry of this order, unless an Application for Extension or Early Termination of
                the Loss Mitigation Period is filed under Section IX.B of the LMP.)

        x       The debtor must make monthly adequate protection payments to the creditor during the
                                                         $ 2,411.16
                Loss Mitigation Period in the amount of __________________ on the due date set forth
                in the note, including any grace period. See Section VII.B. of the LMP.

        x       If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order
                or if such a motion is filed during the loss mitigation period, the court may condition the
                stay upon compliance by the debtor with the fulfillment of the debtor’s obligations under
                the Loss Mitigation Order. If the debtor fails to comply with the loss mitigation process
                and this Order, the creditor may apply to terminate the Order as specified in Section
                IX.B. of the LMP and to obtain relief from the stay.




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        x     Extension or early termination of the LMP may be requested as specified in
              Section IX.B of the LMP.


        x     If this case is dismissed during the loss mitigation period, loss mitigation is
              terminated effective on the date of the order of dismissal.


      It is ORDERED that parties shall utilize the Loss Mitigation Portal during the Loss
        Mitigation Period, and it is further ORDERED that:

        x     Within 14 days of the date of this order, the creditor shall ensure that it is
              registered on the loss mitigation portal and that all of its initial loss mitigation
              document requirements are available on the portal.

        x     Within 35 days of the date of this order, the debtor shall upload and submit
              through the loss mitigation portal a completed Creditor’s Initial Package.

        x     Within 14 days of the debtor’s submission of the Creditor’s Initial Package, the
              creditor shall acknowledge receipt of same and designate the single point of
              contact for debtor’s review.


      It is ORDERED that the debtor is excused from use of the Loss Mitigation Portal
        during the Loss Mitigation Period, and it is further ORDERED that:

        x     Within 14 days of the date of this order, the creditor shall designate a single point
              of contact, including the name and contact information of the contact and shall
              specify to the debtor the forms and documentation the creditor requires to initiate
              a review of the debtor’s loss mitigation options.

        x     Within 21 days after receipt of the creditor’s specifications regarding forms and
              documentation, the debtor shall provide the requested information.

        x     Within 14 days of the debtor’s submission, the creditor shall acknowledge receipt
              of the documentation.




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